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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

CRYSTAL SCHLEICHER,

                       Plaintiff,                                       8:23CV556

        vs.
                                                         ORDER ON JOINT STIPULATION
LIFE INSURANCE COMPANY OF NORTH                            DISMISSING DEFENDANT
AMERICA, and LABORATORY                                 LABORATORY CORPORATION OF
CORPORATION OF AMERICA HOLDINGS                           AMERICA HOLDINGS GROUP
GROUP BENEFITS PLAN,                                         BENEFIT PLAN ONY

                       Defendants.


       This case is before the Court on the Joint Stipulation Dismissing Defendant Laboratory

Corporation of America Holdings Group Benefit Plan Only, signed by counsel for both plaintiff

and defendant Life Insurance Company of North America (LINA). Filing 15. The parties stipulate

to the following:

               1.     The Parties acknowledge that the Plan is not a necessary party to
       this action because the benefits at issue are fully insured by LINA, and LINA will
       be responsible for payment of any benefits awarded for plaintiff’s claim under 29
       U.S.C. §1132(a)(1)(B), as well as interest and attorney’s fees, if any.

               2.      LINA will not defend against Plaintiff’s claim and/or cause of action
       under 29 U.S.C. §1132(a)(1)(B) including any claim for attorney’s fees, by
       asserting that the Plan is at fault or is a necessary party to this action.

              3.     The Parties agree that all claims against the Plan should be
       dismissed without prejudice and without an award of fees or costs to any party.

               4.     Defendant LINA remains a party to this action.

Filing 15 at 1–2. Consequently, the parties stipulate that defendant Laboratory Corporation of

America Holdings Group Benefits Plan only should be dismissed from this lawsuit without

prejudice and without an award of fees or costs to any party, and they request that the Plan be

removed from the caption of this matter. Filing 15 at 2. Accordingly,


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       IT IS ORDERED that the parties’ Joint Stipulation Dismissing Defendant Laboratory

Corporation of America Holdings Group Benefit Plan Only, Filing 15, is granted. This case is

dismissed with prejudice as to defendant Laboratory Corporation of America Holdings Group

Benefit Plan, without an award of fees or costs, and defendant Laboratory Corporation of America

Holdings Group Benefit Plan shall be removed from the caption of this matter. Defendant LINA

remains a party to this action.

       Dated this 30th day of January, 2024.
                                                   BY THE COURT:


                                                   _________________________
                                                   Brian C. Buescher
                                                   United States District Judge




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